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✎AO 187 (Rev. 7/87) Exhibit and Witness List


                                                 UNITED STATES DISTRICT COURT
                              WESTERN                                                 DISTRICT OF                                      NEW YORI


                   DOUGLAS J. HORN, et al.
                                                                                                                 EXHIBIT AND WITNESS LIST
                                        V.
            MEDICAL MARIJUANA INC., et al.                                                                             Case Number: 15-CV-701 JWF

PRESIDING JUDGE                                                    PLAINTIFF’S ATTORNEY                                      DEFENDANT’S ATTORNEY
 JONATHAN FELDMAN                                                   Jeffery Benjamin, Esq.                                    Roy Mura, Esq., Jean Claude Mazzola, Esq.
TRIAL DATE (S)                                                     COURT REPORTER                                            COURTROOM DEPUTY
 01/18/2022
 PLF.      DEF.         DATE
 NO.       NO.        OFFERED
                                       MARKED ADMITTED
                                                                    WITNESSES:                           DESCRIPTION OF EXHIBITS* AND WITNESSES

                                                                    Douglas J. Horn

                                                                    Cindy Horn

                                                                    Dr. Kenneth Graham

                                                                    Dr. Mark Zaporowski

                                                                    Jerrod Ponder




* Include a notation as to the location of any exhibit not held with the case file or not available because of size.

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